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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION




  COTTONWOOD ENVIRONMENTAL
  LAW CENTER, GALLATIN
  WILDLIFE ASSOCIATION,
  YELLOWSTONE BUFFALO
  FOUNDATION,                                        ORDER

                      Plaintiffs,

        vs.

  U.S. SHEEP EXPERI:t\.IBNT
  STATION; AGRICULTURAL
  RESEARCH SERVICE,

                      Defendants.

      Before the Court is the Plaintiffs' Second Motion for Preliminary Injunction

(Doc. 21). At the Parties' joint request, the Court will resolve this Motion on the

merits as being a motion for permanent injunction and summary judgment. For

the reasons stated below, Plaintiffs' Motion will be denied.

                                    BACKGROUND

      This is Plaintiffs third lawsuit challenging the grazing of domestic sheep by

Defendants in southwest Montana's Centennial Mountains. The U.S. Agricultural

Research Service and Sheep Experiment Station ("Sheep Station") at issue was


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established in 1915 and is managed by the Agricultural Research Service. Sheep

have been historically grazed on three allotments in the Centennial Mountains: the

Summer West, Summer East, and the U.S. Forest Service Meyers Creek

allotments. These allotments span approximately 16,600 acres and are dissected

by roughly 16 miles of the Continental Divide Trail ("CDT"). While the public is

allowed access to that portion of the CDT crossing Sheep Station lands and a small

transection of lands abutting the CDT, use of the remaining 16,600 acres is strictly

limited in order to "maintain the Living Laboratories status" of the Sheep Station's

"high elevation rangelands." (Doc. 8 at 13.) Accordingly, the public is not

allowed access to Sheep Station lands year-round.

      Defendants have been unable to graze any sheep over the last several years

because of Plaintiffs' continued litigation. In 2012, Plaintiffs filed a lawsuit

challenging the 2011 Biological Opinion for the Sheep Station resulting in the

preparation of a new Biological Opinion. See Cottonwood Envtl. Law Ctr. v. US.

Sheep Experiment Station, No. CV 12-45- M- DLC, Doc. 1 (D. Mont. Mar. 26,

2012). In 2014, Plaintiffs filed another lawsuit challenging the new Biological

Opinion as well as the Sheep Station's National Environmental Policy Act

(''NEPA") analysis. See Cottonwood Envtl. Law Ctr. v. US. Sheep Experiment

Station, No. CV 14-192- M- DLC, Doc. 1 (D. Mont. June 23, 2014). Plaintiffs

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second suit was voluntarily dismissed after Defendants stated that no sheep would

be grazed on Sheep Station lands "until after the completion of ongoing

environmental analysis under [NEPA.]" (Doc. 4-12 at 3-4.) After Defendants had

completed their environmental analysis as promised and issued an Environmental

Impact Statement ("EIS"), Plaintiffs filed the present suit alleging that the

Defendants violated NEPA by failing to prepare a supplemental EIS. (See Doc. 1.)

      In March 2018, Plaintiffs moved for a preliminary injunction requiring

Defendants to supplement the EIS before grazing any sheep on Sheep Station

lands. This Court denied Plaintiffs' motion on the basis that there was no final

agency action subject to judicial review in the absence of a Record of Decision

("ROD") authorizing the grazing of sheep on Sheep Station lands. (Doc. 11 at 7-

11.) The Ninth Circuit affirmed this Court's decision. (Docs. 16 at 2- 3; 27 at 1.)

      In July 2018, Defendants issued a ROD authorizing the grazing of sheep on

Sheep Station lands. (Docs. 20 at 3; 23 at 3.) Thereafter, Plaintiffs amended their

complaint to challenge the ROD and filed the Motion presently before the Court

seeking a preliminary injunction of sheep grazing until Defendants complete a

supplemental EIS ("SEIS"). The Court granted the Parties' Joint Motion to

Convert the Preliminary Injunction to Summary Judgment and heard argument on

this matter on May 8, 2019. (Doc. 30 at 1.)

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      Through a Freedom of Information Act request, Plaintiffs have obtained

internal emails which, Plaintiffs contend, establish that "grizzly bears have chased

sheepherders to protect sheep carcasses." (Doc. 20 at 16.) Additionally, Plaintiffs

claim they have evidence that the "mysterious[ ] disappear[ance]" of a grizzly bear

in 2012 was a likely mortality caused by a confrontation between the grizzly and

sheepherders. (Doc. 22 at 8.) Plaintiffs assert that this evidence shows an

increased likelihood that dangerous grizzly bear-human conflicts will occur as a

result of grazing sheep on Sheep Station land.

      Plaintiffs rely upon evidence of entries in a date book that were later

transcribed by Animal and Plant Health Inspection Service ("APHIS") officer

Jonathan Farr in internal emails regarding grizzly bear encounters on Sheep Station

lands. Plaintiffs draw attention to two entries from 2008:

      July 28-Big Mountain pasture in West Summer Range. [Sheep
      Station] personnel chased by grizzly bear. Investigation by APHIS
      found evidence of grizzly activity in the vicinity, but also found black
      bear sign as well.
      August I- Big Mountain pasture, West Summer Range. Herder
      chased by bear again. 1 ewe killed possibly by black bear.

(Doc. 4-5 at 7.) As regards the mysterious disappearance of a grizzly bear in 2012,

Plaintiffs rely upon a report titled "Down Collar Retrieval Information." (Doc. 4-9

at 2.) The report describes an investigation into the suspicious circumstances


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under which a grizzly bear monitoring collar was found underneath a rock in a

small stream near a hunting camp. Because the bear itself was never found, it is a

presumed mortality. The report indicates that a rifle cartridge was found

approximately 300 yards from where the grizzly "was last located alive." (Id. at

6.) The report further indicates that the rifle cartridge was found on a high point

where it appeared that a sheep herder had tended a flock of sheep. Additionally,

the report details an encounter between the investigators and two hunters who were

camped near the downed collar. The hunters became visibly nervous when the

collar was discussed and one of the first things they mentioned regarding the collar

was that because it was in the water, there would be no fingerprints on it.

However, the report is ultimately inconclusive as to the underlying cause for the

presumed mortality. (Id. at 2- 8.)

      Plaintiffs contend that Defendants' failure to address these encounters in the

FEIS runs afoul of NEPA and invalidates both the FEIS and ROD in this case.

(Docs. 20 at 16---17; 22 at 13.) Plaintiffs request the Court vacate the ROD and

enjoin sheep grazing until such time as Defendants have complied with NEPA by

issuing a SEIS discussing the implications of increased grizzly bear encounters

resulting from Sheep Station activities. (Doc. 20 at 17- 18.)



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                                      LEGAL STANDARDS

 I.      Summary Judgment

            A party is entitled to summary judgment if it can demonstrate that "there is

      no genuine dispute as to any material fact and the movant is entitled to judgment as

      a matter oflaw." Fed. R. Civ. P. 56(a). Summary judgment is warranted where

  the documentary evidence produced by the parties permits only one conclusion.

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251 ( 1986). Only disputes over

      facts that might affect the outcome of the lawsuit will preclude entry of summary

  judgment; factual disputes that are irrelevant or unnecessary to the outcome are not

  considered. Id. at 248.

II.      Administrative Procedures Act

            Judicial review of agency decision under NEPA is governed by the

  Administrative Procedures Act ("APA"). Neighbors of Cuddy Mountain v.

  Alexander, 303 F.3d 1059, 1065 (9th Cir. 2002). Under the APA "[a] person

  suffering a legal wrong because of agency action, or adversely affected or

  aggrieved by agency action within the meaning of a particular statute, is entitled to

  judicial review thereof." 5 U.S.C. § 702. An agency action may be set aside under

  the AP A only if it was "arbitrary, capricious, an abuse of discretion, or otherwise

  not in accordance with the law." 5 U.S.C. § 706(2)(A). "The standard is

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deferential." River Runners for Wilderness v. Martin, 593 F.3d 1064, 1070 (9th

Cir. 2010.)


                                     DISCUSSION


      Plaintiffs advance two claims under NEPA: first, Defendants failed to

prepare a SEIS and, second, the ROD authorizing the grazing of sheep on Sheep

Station lands is arbitrary and capricious. (Doc. 20 at 15-17.) Plaintiffs' claims

hinge entirely upon their assertion that Defendants failed to analyze or disclose that

grizzly bears chased Sheep Station personnel. Plaintiffs assert that this oversight is

fatal because it deprived the public of information implicating the potential for

both human and grizzly bear fatalities stemming from an increased likelihood of

confrontation between the species as a result of grazing sheep in grizzly bear

country. In the absence of supplementation, Plaintiffs argue that the FEIS is

inadequate because it does not provide the public with essential information.

Moreover, Plaintiffs claim that the ROD is arbitrary and capricious because it

relies on an FEIS lacking essential information. Plaintiffs' first claim is properly

classified as an action to compel agency action under 5 U.S.C. § 706(1) while the

second claim should be classified as pursuing relief under § 706(2) because it seeks

declaratory relief finding the ROD to be arbitrary and capricious.



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I.     Section 706(1) Claim

          An action seeking to compel an agency to prepare a SEIS is "not a challenge

 to a final agency decision, but rather an action arising under 5 U.S.C. § 706(1 ), to

 compel agency action unlawfully withheld or unreasonably delayed." Friends of

 the Clearwater v. Dombeck, 222 F.3d 552, 560 (9th Cir. 2000) (internal quotation

 marks and citation omitted). In order to prevail, Plaintiffs must show that

 Defendant have refused to prepare a SEIS despite a clear legal duty to do so. See

 ONRC Action v. Bureau ofLand Management, 150 F.3d 1132, 1137-38 (9th Cir.

     1998). As has been noted by the Supreme Court, the Council on Environmental

 Quality ("CEQ") regulations "impose a duty on all federal agencies to prepare

 supplements to either draft or final EIS's" in certain situations. Marsh v. Oregon

 Nat. Res. Council, 490 U.S. 360, 372 (1989). These situations, according to the

 CEQ regulations arise when:

          (i) The agency makes substantial changes in the proposed action that
          are relevant to environmental concerns; or
          (ii) There are significant new circumstances or information relevant to
          environmental concerns and bearing on the proposed action or its
          impacts.

 40 C.F.R. § 1502.9(c)(l).

          Plaintiffs attempt to portray the information they obtained as "new

 information" warranting supplementation under§ 1502.9(c)(l)(ii). (Doc. 26 at

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11 .) Plaintiffs quote Friends ofthe Clearwater v. Dombeck, 222 F.3d 552, 557- 58

(9th Cir. 2000), for the proposition that Defendants must supplement when "new

information is sufficient to show that the remaining [agency] action will affect the

quality of the human environment in a significant manner or to a significant extent

not already considered." Plaintiffs contend that their "new information" shows

that grazing sheep in the Centennial Mountains will affect the quality of the human

environment in a significant manner by increasing the likelihood of human-grizzly

bear conflict and implicating the lives of members of both species. (Doc. 26 at 12-

13.) Plaintiffs assert that this probability, as evidenced by the "new information,"

is significant and has not yet been considered. (Id. at 12-13.)

      The problem with Plaintiffs' argument for supplementation is that the

information is not "new." Temporally, the documents Plaintiffs rely upon to

establish that grizzly bears have chased sheepherders refer to encounters on July

28, 2008 and August I, 2008. (Doc. 4-5.) And Plaintiffs' evidence purportedly

showing that the Sheep Station could be responsible for another grizzly bear' s

"mysterious[ ] disappear[ance]" dates from September 18, 2012. (Doc. 4-9.) This

evidence predates Defendants' Biological Opinion dated February 25, 2015,

Defendants' FEIS dated July 2017, and Defendants' Supplemental Information

Report ("SIR") dated July 23, 2018. (Docs. 7-1; 7-2; 25-2.)

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       Aside from not being temporally "new," the evidence is not factually "new."

The 2008 and 2012 evidence was considered by Defendants when analyzing the

potential effects on grizzly bears of grazing sheep on Sheep Station lands.

Defendants' discussion of the evidence is found in the 2015 Biological Opinion

(Doc. 7-1 at 29-31), in the 2017 FEIS (Doc. 7-2 at 123, 130,409), and in the 2018

SIR (Doc. 25-2 at 2-3).

      The 2015 Biological Opinion includes a discussion of all grizzly bear reports

on Sheep Station lands within the preceding ten years. The Biological Opinion

begins that discussion with the following definitions:

      [A] grizzly bear/sheep conflict is defined as any circumstance in
      which sheep are killed by a grizzly bear. Grizzly bear/sheep
      encounters are defined as situations when a grizzly bear is in the
      vicinity of sheep, but does not kill any sheep. Grizzly bear/human
      encounters encompass any interaction between a grizzly bear and a
      human, including sightings to altercations that result in the death or
      injury of either the bear or the human. Due to the expected proximity
      of Sheep Station personnel to sheep grazing on [Sheep Station lands],
      a grizzly bear/human encounter has the potential to also be considered
      as a grizzly bear/sheep encounter.

(Doc. 7-1 at 30.) The Biological Opinion then provides the following description

of the incident:

      On July 28, 2008, Sheep Station employees reported encountering a
      grizzly bear in the Big Mountain pasture of the West Summer Range,
      however APHIS Wildlife Services found both grizzly bear and black
      bear in the vicinity. On August 1, 2008, in the Big Mountain pasture,

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      a Sheep Station employee encountered a bear (reports do not identify
      if the bear was a black or grizzly bear) where one ewe had been killed;
      it is unknown if it was killed by a grizzly or black bear. In both of the
      reported bear/human encounters, descriptions of bear were
      representative of natural bear behaviors and do not demonstrate a loss
      of wariness to humans.

(Id. at 31.) The Biological Opinion also provides the following account of the

2012 grizzly bear disappearance:

      In 2012, a grizzly bear collar was found in the action area. The bear
      associated with the collar has not been found, and it is unknown if the
      bear was killed or not; in the absence of better data, the [Interagency
      Grizzly Bear Study Team] documents that bear as a probable
      mortality. The Service's Division of Law Enforcement has an
      ongoing open investigation into the circumstances surrounding the
      bear collar; no conclusions have been reached in that case. At this
      time, no conclusions have been made that connect the bear collar to
      actions by the Sheep Station or its employees. Should the
      investigation conclude otherwise, reinitiation of this consultation may
      be necessary, separate from any enforcement actions that may be
      taken.

(Id. at 30 (internal quotation marks and citation omitted).)

      The FEIS summarizes the evidence in much the same manner and also

incorporates the Biological Opinion by reference pursuant to 40 C.F.R. § 1502.21.

(Doc. 7-1 at 122-23, 130.) The FEIS further provides a response to a public

comment (which Plaintiffs claim to have filed) specifically stating that the draft

EIS did not disclose "the fact that grizzly bears have previously chased herders"

and "failed to analyze the fact that grizzly bears that are chasing sheep herders may


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actually kill the herders." (Id. at 409.) The response to this comment was that a

"herder may shoot directly at a grizzly bear only if his personal safety is

threatened, however this situation has not occurred with Sheep Station grazing, and

is not expect to occur." (Id.)

      The Court does not find the FEIS's discussion of the incidents to be lacking.

Nor does the Court find the omission of the word "chase" from the various

descriptions of the incidents to be significant. Defendants assert that the FEIS,

Biological Opinion, and SIR "all reasonably concluded the information was

unconfirmed, insignificant, and did not warrant a supplemental EIS." (Doc. 24 at

16-1 7.) The Court agrees.

      The documentation of the July 28, 2008 encounter shows that APHIS was

not convinced that a grizzly bear was involved and nowhere mentions that a sheep

carcass was involved. The documentation of the August 1, 2008 encounter does

not even mention a grizzly bear, instead only providing "l ewe killed possibly by

black bear." (Doc. 4-5 at 7.) The documentation surrounding the 2012 probable

mortality is even less compelling. It provides three possible scenarios, one of

which implies that a Sheep Station employee shot the missing grizzly bear while

tending a flock and then placed the collar in the stream next to the well-known

camping spot. However, the report is inconclusive and explicitly states that it "is

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unknown if the cartridge has any relationship to [the missing bear] at all." (Doc. 4-

9 at 7.)

       The events are described as "encounters" because that is what the events

were according to the definitions used in the 2015 Biological Opinion. (Doc. 7-1

at 31.) Detail is omitted from the FEIS and the Biological Opinion because detail

is unquestionably lacking from the evidence Plaintiffs want to have analyzed. As

just stated, it was not determined that either incident in 2008 involved a grizzly

bear. On the other hand, it was determined that the descriptions of the incidents

"were representative of natural bear behaviors and do not demonstrate a loss of

wariness to humans." (Id.)

       The Court acknowledges that inclusion of the word "chase" could possibly

have elicited more public concern over the welfare of sheep herders or grizzly

bears. However, this does not change the fact that the encounters were disclosed

and discussed in the Biological Opinion and FEIS to the extent the evidence

permitted. Moreover, in the event of an encounter, the Sheep Station has protocol

which authorizes a herder to fire at a grizzly bear only if the "herder's personal

safety is threatened." (Doc. 7-1 at 36.) And "Sheep Station's herders also carry

bear spray, a commonly used (and encouraged) deterrent that does not harm

bears." (Id.) Looking at Plaintiffs' evidence, and additional evidence of

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     encounters in 2007, the Biological Opinion states that the likelihood of a herder

     needing to shoot at a bear "is expected to be discountable, based on the fact that it

     historically has not occurred during grazing comparable to that proposed." (Id.)

     Accordingly, the Biological Opinion determined that grizzly bears would not be

     "subject to an increased likelihood of death or injury." (Id.)

           Based on the foregoing, the Court cannot conclude that Defendants are

 under any legal duty to prepare a SEIS addressing Plaintiffs' evidence because the

     evidence is not new and does not present considerations that have not already been

 analyzed in the relevant NEPA documents. Accordingly, Plaintiffs have failed to

     show that they are entitled to judgment as a matter of law on their first claim for

 relief.

n.      Section 706(2) Claim

           An agency action may be set aside under the APA only if it was "arbitrary,

 capricious, an abuse of discretion, or otherwise not in accordance with the law." 5

 U .S.C. § 706(2)(A). This Court's review under the "arbitrary and capricious

 standard" is limited. Lands Council v. McNair, 629 F.3d 1070, 1074 (9th Cir.

 2010). The Court may not substitute its judgment for that of the agency. An

 agency's decision is arbitrary and capricious "only if the agency relied on factors

 Congress did not intend it to consider, entirely failed to consider an important

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aspect of the problem, or offered an explanation that runs counter to the evidence

before the agency or is so implausible that it could not be ascribed to a difference

in view or the product of agency expertise." Id. (internal quotation marks and

citation omitted). "Agency action is valid if the agency 'considered the relevant

factors and articulated a rational connection between the facts found and the

choices made."' Id. (quoting Arrington v. Daniels, 516 F .3d 1106, 1112 (9th Cir.

2008)).

      Plaintiffs' second claim must be interpreted as alleging that Defendants'

ROD is arbitrary and capricious because Defendants failed to consider an

important aspect of the problem or offered an explanation that runs counter to the

evidence before the agency. (Doc. 20 at 16-17.) However, as was discussed in

relation to Plaintiffs' first claim, the Court finds that Plaintiffs have not shown that

Defendants failed to consider an important aspect of the problem. Instead, the

Court finds that Defendants have considered the effects that grazing sheep will

have on increasing conflicts between grizzly bears and humans and determined that

it is "discountable" and does not pose "an increased likelihood of death or injury."

(Doc. 7-1 at 36.) Based on the above discussion, the Court also finds that

Defendants considered the factors relevant to making the decision to graze sheep

on Sheep Station lands and, after reviewing Plaintiffs' evidence and Defendants'

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analysis of that evidence in the 2015 Biological Opinion and 2017 FEIS, finds a

rational connection between the facts found and the conclusion made. Therefore,

Plaintiffs are not entitled to judgment as a matter of law on their second claim for

relief.

          IT IS ORDERED that Plaintiffs' Motion for Summary Judgment (Doc. 21)

is DENIED.

          IT IS FURTHER ORDERED that the Parties shall file a joint status report

within 14 days advising the Court as to whether any issue remains for adjudication.

          DATED this '30~ay ofMay, 2019.




                                                 Dana L. Christensen, Chief Judge
                                                 United States District Court




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